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                        UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA
                        Criminal No. 19-CR-305(NEB/BRT)

UNITED STATES OF AMERICA,                )
                                         )
                    Plaintiff,           )      GOVERNMENT’S MOTION FOR
                                         )      CONTINUANCE
             v.                          )
                                         )
NEERAJ CHOPRA,                           )

                    Defendant.


      The United States of America, by and through its attorneys, Erica H. MacDonald,

United States Attorney for the District of Minnesota, and Julie E. Allyn, Assistant United

States Attorney, respectfully submit this motion for a continuance of the Motions Hearing

currently scheduled for March 5, 2020.

      Counsel for the government anticipates being in trial on March 5, 2020 before the

Honorable Judge Donovan Frank. Given the trial schedule of counsel for the government,

the United States respectfully requests the Court reschedule the Motions Hearing to

sometime the week of March 16, 2020, or thereafter, at a time convenient for the Court.
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Counsel to defendant Neeraj Chopra (Ryan Garry) does not object to the relief requested

herein.

          Dated: February 3, 2020             Respectfully Submitted,

                                              ERICA H. MacDONALD
                                              United States Attorney

                                              s/ Julie E. Allyn

                                              BY: JULIE E. ALLYN
                                              Assistant U.S. Attorney
                                              Attorney ID No. 256511




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